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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                           Case No.: 6:22-cv-0047-WWB-RMN

  BETHUNE-COOKMAN
  UNIVERSITY, INC.,

          Plaintiff,

  v.

  DR. MARY MCLEOD BETHUNE
  NATIONAL ALUMNI
  ASSOCIATION, INC., MARY
  MCLEOD BETHUNE
  NATIONAL ALUMNI
  ASSOCIATION, INC., and
  JOHNNY L. MCCRAY, JR.,
  Individually,

        Defendants.
  _________________________________/

                PLAINTIFF’S SECOND REQUEST FOR PRODUCTION
                       OF DOCUMENTS TO DEFENDANTS

          Pursuant to Fed. R. Civ. P. 34, Plaintiff Bethune-Cookman University, Inc.

  hereby request that Defendants produce the documents and things requested herein to

  undersigned counsel, pursuant to the instructions herein and as set forth in Exhibit

  “A” attached hereto, within thirty (30) days from the date of service or such other

  time as may be agreed to by the parties or ordered by the Court.

                                      DEFINITIONS

          1.      “Plaintiff” refers to Bethune-Cookman University, Inc.

      2.  “Defendants” refers to DR. MARY MCLEOD BETHUNE
  NATIONAL ALUMNI ASSOCIATION, INC., MARY MCLEOD BETHUNE
  NATIONAL ALUMNI ASSOCIATION, INC., and JOHNNY L. MCCRAY, JR.,
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  individually, and any of their local chapters, agents, representatives, officers, directors,
  shareholders, employees, or any other individuals or entities working for Defendants,
  or acting on Defendants’ behalf or at its direction including, but not limited to,
  distributors, attorneys, consultants, and independent contractors.

          3.      “Lawsuit” refers to the instant lawsuit.

       4.    “Complaint” refers to the First Amended Complaint in this Lawsuit
  [ECF No. 33].

          5.   “University’s Marks” refers to any trademark rights asserted by Plaintiff
  in this Lawsuit as defined in the Complaint.

         6.    “Documents” refers to all electronically stored information, papers,
  books, accounts, letters, photographs, objects, handwritten notes, memoranda,
  telephone messages, logs, diaries, correspondences, writings, reports, contracts,
  drawings, graphs, charts, photographs, recordings, data compilations or items from
  which information can be obtained or translated, and any other tangible things.
  “Documents” also includes the foregoing in any recorded form, including, but not
  limited to, electronic mail, computer files, disks, and drives, and specifically
  incorporates, without limitation, all items referenced in Fed. R. Civ. P. 34(a)(1)(A).

         7.     “Communication” means the transmittal of information (in the form of
  facts, ideas, questions, opinions, or otherwise) regardless of whether or not the
  transmission was recorded in any way.

         8.    “Concerning” or “related to” means relating to, referring to, pertaining
  to, describing, mentioning, discussing, commenting on, noting, responding to,
  supporting, contradicting, evidencing, involving, embodying, substantiating,
  depicting, suggesting, reflecting, or constituting in whole or in part.

          9.      The singular includes the plural and vice versa.

        10. “And” and “or” should be read as both conjunctive and disjunctive, and
  neither shall be interpreted to limit the scope of the Requests.

        11. “Include” and “including” mean “include without limitation” and
  “including without limitation,” respectively.

          12.     Requests stated in the present tense include the past tense and vice versa.

         13. Use of a verb in any tense shall be construed as the use of the verb in all
  other tenses.


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                                    INSTRUCTIONS

        1.     In answering the Requests, furnish any and all information in your
  possession, custody, or control of including, without limitation, information in the
  possession, custody, or control of your agents, representatives, officers, directors,
  employees, associates, distributors, attorneys, consultants, investigators, affiliates,
  partnerships, parents, subsidiaries, and other persons under your control.

         2.    In the interest of time, before objecting to any request as vague or
  ambiguous, please contact the undersigned counsel to clarify what was intended by
  the request.

         3.     If, in responding to any request, you claim an objection or other basis for
  not fully responding, respond to all parts of the request to which your objection does
  not apply and separately state what part of the request is objectionable and what
  documents or information are being withheld from production. If you are withholding
  any documents or information that is potentially responsive to any request, please
  make that fact known explicitly.

        4.      If you object to any request or part thereof on the basis of a claim of
  attorney-client privilege, work product protection, or any other claim of privilege or
  protection, please produce a privilege log.

         5.     If a request asks for specific information, and you are unable to provide
  the specific information, then provide as much information as you can and indicate,
  in your response, that the information being provided is an approximation or is
  incomplete with respect to the request.

          6.    Selection, ordering, and numbering of documents from files and other
  sources should be accomplished so that the source of each document is preserved and
  may be determined. By way of example, file folders with tabs or labels or directories
  of files identifying documents should be produced intact with such documents and
  documents attached to each other should not be separated.

         7.    For any and all information responsive to a request that is stored
  electronically, the electronically stored information shall be produced as described
  in the enclosed Appendix “A” annexed hereto.

         8.    If, after a reasonable and thorough investigation using due diligence, you
  are unable to fully or completely respond to a request, then specify, in detail, the
  portion of the request that cannot be responded to fully or completely, the type of
  documents or information which you allege are not available, the reason the
  documents or information are not available, and what efforts you have undertaken to
  locate the documents or information. Also, indicate whether the inability to comply is

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  because a particular document, category of documents, or other information never
  existed, was never recorded, has been lost, misplaced, stolen, or destroyed, has never
  been or is no longer in Plaintiff’s possession, custody, or control, in which case identify
  any persons known or believed to last possess the document or information. In
  addition, indicate what knowledge, information, and beliefs Plaintiff has concerning
  the unanswered portion of the request including without limitation identifying persons
  who may have additional information concerning the request.

                       DOCUMENTS AND THINGS TO BE PRODUCED

        34. All documents that Defendants plan to use or admit at any trial or other
  evidentiary hearing in this Lawsuit.

        35. All documents reviewed, relied upon or referenced during the
  preparation of answers to any written discovery served in this Lawsuit.

        36. All documents and communications concerning any consumer surveys
  or market analysis related to the University’s Marks.

       37. All documents concerning any agreement between Plaintiff and any
  Defendant.

          38.     All Memoranda of Understanding between Plaintiff and any Defendant.

       39.        All documents or communications concerning any of the University’s
  Marks.

       40. All documents or communications concerning Plaintiff’s accreditation
  with Southern Association of Colleges and Schools Commission on Colleges
  (“SACS”).

          41.     All communications with any non-party concerning the Lawsuit.

        42. All communications with any non-party concerning any of the
  University’s Marks.

          43. All documents or communications concerning any Defendants’ loss or
  potential loss of tax-exempt or nonprofit status and any efforts to retain or restore such
  status.

        44. All litigation hold notices or other similar documents designed to
  preserve evidence relevant to this Lawsuit.

         45. All documents concerning any registrations or any applications for
  registration of any trademarks, service marks, logos, symbols or other marks with any
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  government entity including but not limited to the United States Patent & Trademark
  Office and the Florida Department of State, Division of Corporations, or any other
  state or governmental body.

       46. All documents of any type submitted to the United States Patent &
  Trademark Office at any time by any Defendant.

          47.     All documents depicting any use of the mark BETHUNE-COOKMAN.

          48.     All documents depicting any use of the mark FLORIDA CLASSIC.

        49.       All documents depicting any use of the following mark, or any variants
  thereof:




                                                           .

      50.         All documents depicting any use of the terms “HEAD,” “HEART,” and
  “HAND.”

        51. All documents depicting any use of the following mark, or any variants
  thereof, including any depictions of a wildcat:




                                                               .

        52.       All documents depicting any use of the following mark, or any variants
  thereof:


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          53.     All documents depicting any use of the mark B-CU.

          54.     All documents depicting any use of the mark BC.

      55. All documents depicting any use of the name MARY MCLEOD
  BETHUNE.

      56. All documents depicting any use of the name DR. MARY MCLEOD
  BETHUNE.

          57.     All documents depicting any use of the term ALUMNI ASSOCIATION.

        58. All documents or communications concerning any right or license to use
  any of the University’s Marks or related to the University’s Marks.

        59. All documents or communications concerning any affiliation, or lack
  thereof, between Plaintiff and any Defendant.

         60. All documents concerning any marketing, advertising, or solicitations
  using any of the University’s Marks, or any variation thereof, including but not limited
  to newspapers, magazines, flyers, webpages, social media pages, and audio or visual
  recordings.

         61. All documents or communications concerning any actual or potential
  confusion, mistake, or deception related to the University’s Marks including, without
  limitation, any studies you have conducted or have been conducted on your behalf.

        62. All documents or communications concerning any actual or potential
  confusion, mistake, or deception related to any affiliation between Plaintiff and any
  Defendant.

        63. All documents or communications concerning any actual or potential
  confusion, mistake, or deception related to any affiliation, sponsorship or approval of
  any Defendant by Plaintiff.


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         64. All documents or communications concerning any communication from
  any person or entity in which the person or entity indicates that there was any actual
  or potential confusion regarding any affiliation between any Defendant and Plaintiff.

                                                Respectfully submitted,

                                                s/Gregory W. Herbert
                                                Gregory W. Herbert
                                                Florida Bar No. 0111510
                                                herbertg@gtlaw.com
                                                GREENBERG TRAURIG, P.A.
                                                450 S. Orange Avenue, Suite 650
                                                Orlando, FL 32801
                                                Telephone No. (407) 420-1000
                                                Lead Counsel for Plaintiff




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                              CERTIFICATE OF SERVICE

          I hereby certify that on June 16, 2023, I served the foregoing document via email

  to Defendants’ counsel Elana Greenway at elana@greenwayfirm.com and Vivian

  Williams at williavivian@gmail.com.

                                                  s/Gregory W. Herbert




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